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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case Number 17-20790
                                                            Honorable David M. Lawson
v.

ROBERT A. GROSS,

                      Defendant,

In re: B&W REAL PROPERTY ASSOCIATES, L.L.C.                 Case Number 18-50728

In re: TITAN FUNDING, LLC                                   Case Number 18-50729

In re: NENA AND MARK DOWNING                                Case Number 18-50827

In re: HOWARD AND KAREN SHERLINE                            Case Number 18-50844

                  Moving Parties.
______________________________________/

      OPINION AND ORDER DENYING MOTIONS BY TITAN FUNDING, NENA
         AND MARK DOWNING, AND HOWARD AND KAREN SHERLINE
      FOR RECOGNITION AS CRIME VICTIMS, AND GRANTING MOTION BY
        B&W REAL PRPOPERTY FOR VICTIM STATUS AND RESTITUTION

       On December 7, 2017, Robert Gross, an attorney, pleaded guilty to and was convicted of

one count of wire fraud. The government (and Gross) identified several victims of Gross’s fraud.

Another individual, Alec Lang, filed a motion to be recognized as a victim, which the Court denied.

United States v. Gross, No. 18-50368, 2018 WL 1804691 (E.D. Mich. Apr. 17, 2018). The court

of appeals likewise denied relief. In re Alec Lang, No. 18-1459 (6th Cir. Apr. 26, 2018). Before

the Court are four more motions filed by various parties for recognition of crime victim status and

awards of restitution from Gross under the Crime Victims’ Rights Act (CVRA). The movants

are: (1) B&W Real Property Associates, LLC (No. 18-50728); (2) Titan Funding, LLC and Titan
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Loan Servicing, LLC (No. 18-50729); (3) Nena and Mark Downing (No. 18-50827); and (4)

Howard and Karen Sherline (No. 18-50844). Like Lang, the Downings, Sherlines, and B&W

have not established that they were victims of the crime Gross was convicted of in this case. Their

motions will be denied. Because B&W has made the requisite showing, its motion will be

granted.

                                                I.

                                       A. Gross’s Crime

       Gross entered a plea of guilty to a single count of wire fraud under 18 U.S.C. § 1343.

Gross pleaded guilty under a Rule 11 agreement, which included a recitation of the factual basis

for the conviction. Rule 11 Agreement [R. 9] (Pg ID 17-22). According to that recitation,

between 2013 and 2016 Gross engaged in a scheme to procure fraudulent loans for the benefit of

two associates named by the government only as “Person A” and “Person B.”                   Those

pseudonyms, it appears, were intended to refer to William Gonte and Brian Benderoff.

       “In his plea agreement Gross admitted to fraudulent representations in connection with: an

August 2013 loan; a March 2016 condominium conveyance; a March 2016 transfer of interest in

a life insurance policy; a June 2016 loan to be used to pay off equipment liens; and a June 2016

investment in a medical marijuana business.” In re Alec Lang, No. 18-1459, slip op. at 3 (6th Cir.

Apr. 26, 2018). First, in August 2013, Gross brokered a loan by victim S.G. to parties referred to

by the government only as “Person A” and “Person B.” Gross told S.G. that the loan would be

“fully secured” and that it would be repaid “in a matter of days.” When the loan was not repaid,

Gross told S.G. that more funds would need to be loaned to preserve the investment, or the original




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funds would be lost. Gross secured a series of loans from S.G. by similar representations over

several years, eventually amounting to more than $2.6 million.

       Second, in March 2016, Person A and Person B sought a loan from another (unidentified)

creditor. They wanted to offer a particular condominium unit as collateral for the loan, but the

unit was not owned by either Person A or Person B. Gross drafted a quit claim deed that purported

to transfer the condominium from victim G.G. to Person B, and Person B forged G.G.’s signature

on the deed. Gross then fraudulently notarized the deed, certifying that it was signed by G.G.

Person A and Person B then obtained the loan using the forged deed.

       Third, again in March 2016, Person A and Person B sought to obtain yet another loan from

another (unnamed) creditor. Person A wanted to offer a life insurance policy as collateral for the

loan, but he was not allowed to do so without the written consent of victim S.G., who held an

interest in the policy. Gross drafted a document purporting to transfer Person A’s interest in the

policy with the consent of S.G. Person B forged S.G.’s signature on the document, and Gross

fraudulently notarized the signature, attesting that S.G. had signed it. Person A and Person B then

obtained the loan using the life insurance policy as collateral.

       Fourth, in June 2016, during a trip to Las Vegas, Gross told another of his clients, D.A.,

that funds loaned by D.A. would be used to invest in a medical marijuana business, although he

knew that the funds would not be invested in any such business. D.A. advanced $125,000 in

funds through Gross, which Person B then used to secure a gambling marker (a credit line extended

by a casino for a customer to use for gambling). During the same trip, Gross told his client E.H.

that funds he loaned would be used to pay off equipment liens that would allow for the sale of a




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business and return of the funds. E.H. advanced $125,000 through Gross, which Person B then

used to obtain a gambling marker at the Caesar’s Palace casino.

        Robert Gross pleaded guilty in the underlying criminal case on December 7, 2017. After

the Court heard from the various parties seeking victim status and restitution, Gross was sentenced

on June 26, 2018. The judgment was entered on June 28, 2018, and it reserved the determination

of the specific amount of restitution for later adjudication.

                                        B. Applicable Law

        As in Lang’s case, these motions present two questions: whether the various movants are

“victims” under the statutory definition; and whether they have established that they suffered loss

entitling them to restitution.

                                         1. Crime Victim

        “A ‘crime victim’ is defined under the [Crime Victims’ Rights Act (CVRA)] as a person

‘directly and proximately harmed as a result of the commission of a Federal offense or an offense

in the District of Columbia.’” In re McNulty, 597 F.3d 344, 349 (6th Cir. 2010) (quoting 18

U.S.C. § 3771(e)). “The requirement that the victim be ‘directly and proximately harmed’

encompasses the traditional ‘but for’ and proximate cause analyses.” Id. at 350 (citations and

quotations omitted). The concept of “direct harm” encompasses a “but-for” causation notion that

is different from that of “proximate harm,” and for both purposes the necessary inquiry is fact-

specific. Ibid. “The CVRA ‘instructs the district court to look at the offense itself only to

determine the harmful effects the offense has on parties. Under the plain language of the statute,

a party may qualify as a victim, even though it may not have been the target of the crime, as long

as it suffers harm as a result of the crime’s commission.’” Id. at 351 (quoting In re Stewart, 552


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F.3d 1285, 1289 (11th Cir. 2008)). “Thus . . . the issue becomes whether [the petitioner] was

directly and proximately harmed by criminal conduct in the course of the [crime] or if the actions

taken by [the] defendant[] in the underlying case which allegedly harmed [the petitioner] were

merely ancillary to the [crime].” Ibid. “In making this determination, [the Court] must (1) look

to the offense of conviction, based solely on facts reflected in the jury verdict or admitted by the

defendant; and then (2) determine, based on those facts, whether any person or persons were

‘directly and proximately harmed as a result of the commission of [that] Federal offense.’” Ibid.

(quoting United States v. Atlantic States Cast Iron Pipe Co., 612 F. Supp. 2d 453, 536 (D.N.J.

2009) (collecting cases)).

                                          2. Restitution

       When considering restitution for victims in a fraud case, “a victim’s losses may only be

included in a restitution award arising from fraud if the victim actually relied on the perpetrator’s

fraudulent conduct or misrepresentations.” United States v. Teadt, 653 F. App’x 421, 429 (6th

Cir. 2016). Reliance may be established either by “direct evidence that each individual investor

[received] the false information and relied on it when deciding to [invest],” or, where the scope of

the fraud scheme makes “requiring individualized proof of reliance for each investor . . . infeasible

or impossible,” then “the government may instead offer specific circumstantial evidence from

which the district court may reasonably conclude that all of the investors relied on the defendant’s

fraudulent information.”     United States v. Stein, 846 F.3d 1135, 1153-54 (11th Cir. 2017)

(considering calculation of the loss amount under U.S.S.G. § 2B1.1). “In some cases, it will be

clear that no reasonable person would have given the defendant her money if she had known of

his plan — as in the fraud in [United States v. Ojeikere, 545 F.3d 220, 223 (2d Cir. 2008),] where


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the defendant’s plan was to abscond with his co-conspirators’ funds as soon as he got hold of their

money,” and “[i]n those cases, a generalized description of the fraudulent scheme is enough to

support restitution.” United States v. Archer, 671 F.3d 149, 172 (2d Cir. 2011). “But where it is

plausible that some individuals would have paid the defendant even if they had been informed of

his fraudulent plan, then the government must proffer some individualized evidence to meet its

burden of showing that each alleged ‘victim’ was actually a victim.” Ibid.

                           II. B&W Real Property Associates, L.L.C.

       B&W Real Property Associates, LLC is a commercial lending firm in Southfield,

Michigan. In March 2016, William Gonte and Brian Benderoff (Persons A and B identified in

the plea agreement), met with Jack Wolfe, a loan consultant for B&W, and solicited a loan secured

by a lien on a home owned by Gonte’s parents. Because the home was titled in the name of Gary

Gonte — apparently William Gonte’s father — the property could not be mortgaged without a quit

claim deed executed by Gary Gonte. Wolfe spoke to Gary Gonte about the need for him to convey

the property to William Gonte so the loan could be obtained, and Gary Gonte agreed to the

conveyance. Wolfe understood that Gross “would obtain Gary Gonte’s notarized signature on the

deed,” and a quit claim deed subsequently was prepared and notarized by Gross. This was the

same conveyance of a condominium unit owned by “G.G.” that was recited in the plea agreement.

B&W issued a loan for $136,500 secured by a lien on the condominium. Some payments were

made on the loan, but B&W asserts that it still is owed a large outstanding balance. B&W also

represents in its motion that the property presently is the subject of a quiet title action in the

Oakland County, Michigan circuit court, as a result of the defective conveyance.




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        B&W argues that it is entitled to participate in the sentencing as a victim and should be

awarded restitution because (1) it is the unnamed lender involved in the March 2016 loan secured

by a condominium unit, which is recited as a partial basis of the wire fraud conviction in the Rule

11 plea agreement; and (2) it has been directly and proximately harmed as a result of the injury to

its lien interest caused by the fraudulent conveyance, which has led to litigation that could result

in the failure of its collateral and inability to recover on the secured loan.

        The government concedes that B&W is the unnamed lender that issued a loan secured by

the condominium unit, on the basis of the fraudulent quit claim deed. However, the government

asserts that during the investigation Gross took the position that B&W’s loan consultant, Jack

Wolfe, who brokered the deal for the loan secured by G.G.’s condominium, knew that the deed

was fraudulent, but proceeded to close the deal anyway. The government asserts that it did not

name B&W as a victim in the plea agreement because it did not think that it could prove by a

preponderance of the evidence that Wolfe did not know that the deed was fraudulent.

        Based on the record before the Court, however, B&W adequately has established that it is

a “victim” of the fraud involved in the offense of conviction to which Gross pleaded guilty. At

least the following facts are undisputed, according to the record presently before the Court: (1) in

March 2016, defendant Gross prepared and notarized a fraudulent quit claim deed purporting to

convey a condominium unit from Gary Gonte (“GG”) to William Gonte; (2) William Gonte and

another person used that fraudulent deed to obtain a loan from movant B&W, using the

condominium as collateral, with William Gonte’s interest evidenced by the fraudulent deed; (3)

although some payments were made on the loan, it has not been repaid in full; and (4) the property

presently is the subject of a quiet title action wherein Gary Gonte has sued Wolfe, Gonte, B&W,


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and Gross, through which he seeks to recover clear title to the property, alleging that he never

executed the deed in question. The government questions the veracity of affiant Wolfe, the broker

who brought the loan deal to B&W, perhaps with good reason. See Aleynu, Inc. v. Universal

Prop. Dev. & Acquisition Corp., 564 F. Supp. 2d 751, 757 (E.D. Mich. 2008); Karate Inst., Inc. v.

Jack B. Wolfe, No. 06-14783, 2007 WL 2332464, at *1 (E.D. Mich. Aug. 15, 2007). But its

position that Wolfe knew that the quit claim deed was fraudulent is not supported by any admission

by the defendant in the Rule 11 plea agreement, or by any other evidence offered by any party.

        Moreover, regardless of whether Wolfe knew about the fraudulent deed, there is no

suggestion in the record that B&W was informed of the fraud when it issued the loan. Therefore,

B&W adequately has established that it was harmed as a direct result of reliance on the fraudulent

representation described in the plea agreement, and it is entitled to be regarded as a victim. For

the purposes of awarding restitution, “a victim’s losses may . . . be included in a restitution award

arising from fraud if the victim actually relied on the perpetrator’s fraudulent conduct or

misrepresentations.” Teadt, 653 F. App’x at 429. B&W also has shown that it is entitled to an

award of restitution, since it is undisputed that the representation that it says it relied upon was the

same representation admitted in the plea agreement. Therefore, restitution could be ordered.

        However, B&W has not submitted any information establishing the amount of their

loss. It has asserted only that it made a loan of $136,500, that some payments have been made,

and that an unstated balance remains owing.              Because B&W has not submitted any

information on the amount of its loss, restitution cannot be ordered at this time.               B&W

may supplement its presentation if it chooses, but it must do so promptly.

                                      III. Titan Funding, LLC


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       Titan Funding, LLC and Titan Loan Servicing, LLC are commercial lenders from Florida.

In March 2016, Gross met with Jack Wolfe, Titan’s loan consultant, about a loan deal in which

Brian Benderoff (Person B named in the plea agreement) offered to assign his ownership interest

in a company that owned an insurance policy in exchange for a $244,000 loan from Titan. Titan

required that William Gonte (Person A) and Benderoff (Person B) guarantee the transaction.

During a meeting between Gross, Gonte, Benderoff, and Wolfe, Gross represented that Benderoff

had a 36% interest in Sherline Family Holdings, LLC, which was an entity that was entitled to $2

million in proceeds from a viatical investment in an insurance policy on the elderly Howard

Sherline. The other owners of the LLC were Sheldon Gonte (a.k.a. “victim S.G.”) with a 36%

ownership stake, and Howard Sherline, with 28%. The viatical insurance investment was the only

asset of the LLC entity. Benderoff’s interest was valued at $720,000.

       Wolfe received a letter from the attorney who set up the LLC opining that in order for

Benderoff to assign his interest, he only would need the consent of one of the other two members,

because the resulting sum of the shares would constitute a majority of the voting interests. Gross

subsequently drafted an assignment purportedly endorsed by S.G. and notarized by Gross. This

is the same assignment of the LLC interest and life insurance policy referred to in the Rule 11 plea

agreement, which Gross admitted was fraudulent. Titan subsequently made a loan based on the

fraudulent assignment of interest. Titan’s motion also vaguely alludes to an “alleged fraud and

conspiracy” by Gross, Gonte, and Benderoff, which it contends is “the subject of a state court

lawsuit” by Titan against Gonte, Gross, and Benderoff in the Oakland County, Michigan circuit

court. However, the motion does not state any facts suggesting that Titan suffered any actual loss

stemming from the specific loan transaction described in the Rule 11 agreement. Moreover, in


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 his affidavit in support of the motion, Wolfe attested only that (1) a loan was made by Titan based

 on the purported assignment; (2) as of January 2018, the loan was current, and (3) to Wolfe’s

 knowledge all required payments had been made on time. In re Gross, No. 18-50729, Mot. by

 Titan Funding, LLC [3], Ex. A, Jack B. Wolfe aff. ¶¶ 27, 30 (Pg ID 28).

        Titan argues that, “[b]ut for Gross’ alleged fraudulent actions, the alleged forged

 Assignment would not exist, and Titan would not have gone forward with the Transaction;

 therefore, Titan’s damages are a direct and proximate result of Gross’ alleged fraud and illegal

 actions.” However, nowhere does anyone identify what damages Titan actually has suffered, if

 any. It contends, nevertheless, that it is entitled to an award of $244,000 in restitution, and that it

 also should be afforded all the privileges of a victim during the sentencing proceeding.

        The government concedes that the Titan transaction is the same transaction that is described

 in the Rule 11 plea agreement involving an assignment of an LLC interest and a life insurance

 policy and the purported consent of victim S.G. However, the government asserts that Gross took

 the position during the investigation that Wolfe knew that the assignment was fraudulent. The

 government also offered as an exhibit to its motion a handwritten “indemnification agreement”

 signed by William Gonte and Brian Benderoff in which they agreed to indemnify Titan Funding

 against any claims by S.G. that his endorsement of the assignment was not genuine.                The

 government contends that this agreement strongly suggests that Titan Funding knew that the

 purported assignment was fraudulent, and thus sought to absolve itself of any consequences of the

 fraud by obtaining indemnification from the principal perpetrators.

        Titan Funding has not offered any evidence or information to show, or even to suggest,

 that it was harmed by the specific misrepresentation in the course of the loan transaction described


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 in the Rule 11 plea agreement.        It is undisputed that the assignment and loan transaction

 referenced by Titan in its motion are the same as the March 2016 transaction described in the plea

 agreement involving victim S.G. But to qualify as a victim under the MVRA, Titan must show

 that it is was “‘directly and proximately harmed as a result of the commission of a Federal offense

 or an offense in the District of Columbia.’” McNulty, 597 F.3d at 349 (quoting 18 U.S.C. §

 3771(e)) (emphasis added).

        Titan vaguely alludes to a fraudulent “scheme” and “conspiracy,” which it contends is the

 subject of a civil action against Gross, Gonte, Benderoff, and Wolfe in state court. But it

 conspicuously does not assert, and it has not offered any information to show, that it has suffered

 any actual harm as a result of the loan transaction at issue here. It does not represent that the loan

 is delinquent or never was repaid, and it does not state that this specific loan or any proceeds of it

 are the subject of any claims in the state court action. Whether Titan relied on any representation

 by Gross or not, it has not established that it suffered any harm stemming from any such reliance,

 and it therefore does not qualify as a “victim” of Gross’s fraud. Similarly, for the purposes of

 awarding restitution, “a victim’s losses may only be included in a restitution award arising from

 fraud if the victim actually relied on the perpetrator’s fraudulent conduct or misrepresentations.”

 Teadt, 653 F. App’x at 429 (emphasis added). In this case, Titan has not established, or even

 suggested, that it suffered any loss that could be repaired by restitution.

        Titan’s motion will be denied.



                                    IV. Nena and Mark Downing




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        Movants Nena and Mark Downing assert in their motion that they employed Gross as their

 attorney in various legal matters over many years. In May 2016, Gross solicited Mark Downing

 to put some money into a real estate investment that Gross was “facilitating” for an investor, whom

 he identified as another legal client. Gross told Downing that he could expect a 10-to-20% return

 on an investment of $150,000 within a few weeks, and that in the “worst case,” even if the

 investment failed he would receive all of his money back but would not get any interest. Gross

 refused to disclose any more details about the deal, purportedly due to concerns about client

 confidentiality, but he assured the Downings that he had brokered similar deals with this investor

 in the past and found him to be reliable and trustworthy. On May 9, 2016, at Gross’s direction,

 Nena Downing wired $75,000 to the account of an unnamed person (the movants refer in their

 motion to the recipient of the funds as “Person A”; at oral argument they clarified that they

 intended that reference to mean Brian Benderoff, one of the persons named by that pseudonym in

 the Rule 11 agreement). On May 17, 2016, in response to a further solicitation by Gross, the

 Downings wired another $50,000 to the account of “Person A.” The movants assert that Nena

 Downing was interviewed by the government about the investment deal during the the

 investigation, but Mark Downing was not. The Downings do not assert that their investment deal

 was part of any of the four specific transactions described in the plea agreement, but they contend

 that they were victims of “the three-year-long, underlying scheme to defraud” that is “broadly

 define[d]” in the preamble of the plea agreement.

        The Downings have not offered any information to show that they are “victims” of any of

 the specific acts of fraud to which Gross admitted in the Rule 11 plea agreement. For the purposes

 of awarding restitution, “a victim’s losses may only be included in a restitution award arising from


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 fraud if the victim actually relied on the perpetrator’s fraudulent conduct or misrepresentations.”

 Teadt, 653 F. App’x at 429. Here, the Downings do not assert that they relied on any of the

 specific fraudulent representations described in the plea agreement. Instead, they merely contend

 that they were victims of a generalized scheme of fraud involving other, entirely separate

 representations that had nothing to do with the crimes of conviction. Those sorts of generalized

 assertions based on uncharged conduct unrelated to the crime of conviction do not suffice to

 qualify the movants as victims or to establish their entitlement to any restitution. In re Alec Lang,

 No. 18-1459, slip op. at 3 (6th Cir. Apr. 26, 2018) (“Lang alleges that Gross fraudulently induced

 him to: make loans to support a viatical settlement investment scheme; and to help pay off

 gambling debts. These transactions have nothing to do with the fraudulent conduct alleged in

 Gross’s plea agreement. Thus, Lang’s alleged harm, if any, is not a result of reliance on the

 misrepresentations listed in the information. Lang is therefore not a victim of those frauds.”) (citing

 United States v. Farano, 749 F.3d 658, 666 (7th Cir. 2014)).

        The Downings’ motion will be denied.

                                   V. Howard and Karen Sherline

        In April 2015, William Gonte and Brian Benderoff approached Karen Sherline and told

 her that, since her husband, Howard Sterline, was suffering dementia and no longer could work,

 an LLC entity would have to be formed to make the remaining premium payments on his life

 insurance policy. Gonte and Benderoff told Karen that the remaining balance of premiums to be

 paid was a little more than $500,000. They represented to her that they would make the payments

 and she would not have to, but they told Karen that she would have to execute a promissory note

 so it would appear that they had loaned her the money to cover the premiums.


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        The LLC entity was set up in April 2015. In January 2016, Gonte and Benderoff contacted

 Karen Sherline again and told her that the promissory note was “not sufficient,” and that she would

 have to pay them $500,000 to cover the premiums. However, they assured her that the money

 would be returned within a few days after it was paid. Gonte and Benderoff told Karen that if she

 did not advance the funds, then the policy would lapse and any benefits from it would be lost. On

 January 22, 2016, Karen Sherline transferred funds from her bank account to Gonte and Benderoff,

 in return for a promissory note executed by them. Defendant Gross drafted and notarized that

 promissory note. Gonte also gave Karen a check for the amount of the “loan,” which he told her

 she could cash “in a few days.” However, on the date when she was supposed to cash the check,

 Gonte called her and told her not to deposit the checks because there were not enough funds in his

 account to cover it. Gonte later made two payments of $50,000 and $25,000 on the supposed

 loan, but never repaid the remaining balance of more than $425,000.

        The specific transaction that the Sherlines mention in their motion bears some obvious but

 oblique relation to the conveyance of an interest in the viatical LLC entity that was described in

 the Rule 11 plea agreement. However, as to the specific transaction involving the Sherlines and

 Gonte and Benderoff, the movants have not identified any misrepresentation made by Gross on

 which they relied to their detriment. The representations that they describe all were made by

 Gonte and Benderoff, not by Gross. And the representations made by Gross that were admitted

 in the Rule 11 agreement involved the execution and notarization of a conveyance of an interest

 in the LLC, which was presented to secure a loan made by Titan Funding, not by the Sherlines.

 There is some circumstantial overlap in the scenarios described by Gross in his plea agreement

 and recited by the Sherlines in their motion, but the Sherlines have not identified any


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 misrepresentation made in the course of the crimes of conviction that led to their loss. In fact,

 they do not identify any representations at all that were made by Gross directly to them.

         The Sherlines’ motion will be denied.

                                          VI. Conclusion

         Because there is no convincing evidentiary support for a finding that crime victim status

 ought to be ascribed to Titan Funding, LLC and Titan Loan Servicing, LLC, Nena and Mark

 Downing, or Howard and Karen Sherline entitling them to restitution for the crime admitted by

 Robert Gross, their motions for restitution under the Crime Victim Rights Act will be denied.

 Because B&W Real Property Associates, LLC has made the requisite showing, its motion will be

 granted.

         Accordingly, it is ORDERED that the motions for recognition as a crime victim and for

 restitution by Titan Funding, LLC and Titan Loan Servicing, LLC (R. 3, No. 18-50729), Nena and

 Mark Downing (R. 3, No. 18-50827), and Howard and Karen Sherline (R. 1, No. 18-50844) are

 DENIED.

         It is further ORDERED that the motion for recognition as a crime victim and for restitution

 by B&W Real Property Associates, LLC (R. 3, No. 18-50728) for recognition as a crime victim

 and for restitution is GRANTED. B&W must present to the government and defendant Gross

 substantiation of its claimed loss amount on or before September 28, 2018.

                                                              s/David M. Lawson
                                                              DAVID M. LAWSON
                                                              United States District Judge
 Date:      September 26, 2018




                                        PROOF OF SERVICE
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                  The undersigned certifies that a copy of the foregoing order was
                  served upon each attorney or party of record herein by
                  electronic means or first-class U.S. mail on September 26,
                  2018.

                                             s/Susan K. Pinkowski
                                             SUSAN K. PINKOWSKI




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